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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORI(
CHRISTOPHER HART, JEFFREY BEYER, MARlA
SARGENT,         TAYLOR        RAMSEY,        ANDREA
RANDLETT and SHELLY CARRERA,
on behalf of themselves and all other employees similarly   CLASS AND COLLECTIVE ACTION
situated,                                                           COMPLAINT
                                                             AND DEMAND FOR JURY TRIAL
                                              Plaintiffs,
                                                                         Civil Action
              v.                                                        No. 13-cv-6458

CRAB ADDISON, INC. d/b/a JOE'S CRAB SHACK,
IGNITE RESTAURANT GROUP, INC., RAYMOND
A. BLANCHETTE HI, KEVIN COTTINGIM and
RODNEY MORRIS,

                                            Defendants.

       Plaintiffs Christopher Hart, Jeffrey Beyer, Maria Sargent, Taylor Ramsey, Andrea

Randlett and Shelly Carrera ("Named Plaintiffs"), on behalf of themselves and all other

persons similarly situated (collectively, "Plaintiffs"), by and through their attorneys Thomas

& Solomon LLP, bring this class and collective action complaint against Defendants Crab

Addison, Inc. d/b/a Joe's Crab Shack, Ignite Restaurant Group, Inc., Raymond A. Blanchette

III, Kevin Cottingim and Rodney Morris (collectively, "Defendants").

                                  NATURE OF ACTION

       1.     This lawsuit seeks to recover minimum wages, injunctive relief and declaratOlY

relief to redrcss the deprivation of rights secured to Named Plaintiffs and Similarly situated

co-workers (servers, bartenders, bussers, hosts and all other tipped employees) who worked or

have worked at Defendants' Joe's Crab Shack rcstaurants.

       2.     Named Plaintiffs bring this action on behalf of themselves and similarly

situated current and former tipped hourly food service workers who elect to opt-in to this
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action pursuant to the Fair Labor Standards Act of 1938 as amended, 29 USc. § 20 I et seq.

("FLSA"), specifically, the collective action provision of 29 USc. § 216(b). To date, in

addition to the six Named Plaintiffs, forty-one individuals have already opted-in into this

lawsuit.

       3.      Named Plaintiffs also bring this action on behalf of themselves and similarly

situated current and former tipped hourly food service workers pursuant to Federal Rule of

Civil Procedure 23 to remedy the violations of applicable state labor laws and regulations

including: New York Minimum Wage Act, Article 19, § 650 et seq., New York State

Department of Labor Regulations, including, but not limited to, 12 N.Y.C.R.R. §137-2.2 and

§146.2-2, New York Labor Law ("NYLL") § 195(3) as amended by the New York Wage

Theft Prevention Act, Maryland Labor and Employment Code §§3-413, 3-507.2, Missouri's

Minimum Wage Law, §290.502, et seq., Arizona's Minimum Wage Act §23-363, et seq.,

Illinois Minimum Wage Law - 820 ILCS 105/! et seq., and Illinois Wage Payment and

Collection Act - 820 ILCS 115/1 et seq. (collectively "State Labor Laws").

       4.     Defendants have a policy to pay Plaintiffs subminimum wage rates as

described in more detail in Plaintiffs' Mfirmations submitted contemporaneously with this

Complaint in support of Plaintiffs' Motion for Expedited Notice Pursuant to the FLSA.

       5.     Defendants' policy is to not pay Plaintiffs the legally required minimum wage

even though the Plaintiffs are performing jobs unrelated to their tipped job.

       6.     Instead, Defendants, as matter of policy, pay Plaintiffs subminimum wage rates

and require they perform non tip producing duties such as washing dishes, kitchen prep and

janitorial tasks which Defendants refer to as "back of the house" duties.

       7.     Accordingly, Defendants cannot meet the FLSA's tip credit requirements



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codified at 29 USc. §203(m).

       8.        Therefore Defendants are not entitled to a tip credit against the minimum

wage owed to the tipped employees.      As a result, like the Named Plaintiffs, Defendants'

tipped employees are entitled to at least $7.25 for each hour worked.

       9.     Further, none of the Defendants nor any of the managers of Defendants'

business provided requisite notice to Plaintiffs regarding the tip credit as required by the

FLSA, NYLL codified at NYC.R.R §§ 137-2.2, 146.2-2 and Arizona's Administrative Code §

R20-5-1207(c).

                              JURISDICTION AND VENUE

       10.    The jurisdiction of this Court is invoked pursuant to 28 USc. §1331, 28

USc. §1343 (3) and (4) conferring original jurisdiction upon this Court of any civil action

to recover damages or to secure equitable relief under any Act of Congress providing for the

protection of civil rights; under 28 USc. § 1337 conferring jurisdiction of any civil action

arising under any Act of Congress regulating interstate commercc; under the Declaratory

Judgment Statute, 28 USc. § 2201; and under 29 USc. § 216(b).

       II.    The Court has jurisdiction over Plaintiffs' State Labor Law claims under the

Class Action Fairness Act of 2005, 28 USc. § 1332(d). Plaintiffs' claims for violations of

the State Labor Laws have a value in excess of $5,000,000 exclusive of fees and costs.

Citizenship of the members of the proposed subclasses is dispersed among a number of states.

Upon information and belief, greater than two-thirds of the members of all proposed

subclasses in the aggregate are not citizens of the same state.     The number of putative

subclass members exceeds 100. At least one member of the proposed subclasses is a citizen of

a state different from that of at least one defendant. Plaintiffs' claims involve matters of



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national or interstate interest.

        12.    This Court also has supplemental jurisdiction over the State Labor Laws under

28 USc. § 1367(a) because the Plaintiffs' allegations of State Labor Laws are related and

arise from the same core of operative facts as Plaintiffs' allegations for violations of the FLSA.

                          COLLECTIVE ACTION ALLEGATIONS

       13.     Named Plaintiffs bring this action on behalf of themselves and all other

similarly situated employees as authorized under 29 U.S.c. § 216(b).              The employees

similarly situated for purposes of the collective action are:

       All Defendants' current and former employees who in the last three years have
       worked as tipped hourly food service workers and were paid subminimum
       wages at Defendants' Joe's Crab Shack restaurants, who elect to opt-in to this
       action.

       14.     In addition, at all times relevant to the litigation, Defendants' policy and

pattern or practice did not notify the Named Plaintiffs and similarly situated employees of

the FLSA's tip credit provision 29 USc. § 203(m) and supporting Federal Regulations,

including, but not limited to, 29 C.F.R. §516.4. Accordingly, Defendants are not entitled to

pay Plaintiffs' subminimum wages under the FLSA.

       15.     Defendants knowingly and willfully operate their business with a policy of not

paying the FLSA minimum wage to the Named Plaintiffs and other similarly situated

employees. Moreover, Defendants were sued for minimum wage violations, and thus were

properly put on notice of their invalid compensation schemes.             However, Defendants

continued to ignore the law and failed to properly compensate the Named Plaintiffs and

other similarly situated employees even though they were put on notice that they had

violated employees' rights.

       16.     Moreover, Defendants are aware or should have been aware that federal law


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required them to pay employees minimum wage for performing non tip producing work.

       17.     Further, Defendants are aware or should have been aware that federal law

required them to provide requisite notice to tipped employees as required by the FLSA.

       18.     Plaintiffs are similarly situated in that they have similar job duties and similar

pay provisions based on Defendants' illegal pay policy requiring they perform non-tip

producing duties and are paid subminimum wages.

       19.    There are numerous similarly situated current and former tipped employees of

Defendants who work or worked at Joe's Crab Shack restaurants who would benefit from

issuance of a Court supervised notice of the instant lawsuit and the opportunity to join in the

present lawsuit.

       20.    Similarly situated employees are known to Defendants and readily identifiable

by Defendants through Defendants' payroll records.

       21.    Therefore, Named Plaintiffs should be permitted to bring this action as a

collective action for and on behalf of those employees similarly situated pursuant to the opt-

in provision of the FLSA, 29 USc. § 216(b).

       22.    Annexed hereto as Exhibit A are the written consents to filing this complaint

duly executed by the six Named Plaintiffs pursuant to 29 USc. §216(b).

       23.    Annexed hereto as Exhibit B are the written consents to filing this complaint

duly executed by forty-one additional Plaintiffs pursuant to 29 U.s.c. §216(b).

                             CLASS ACTION ALLEGATIONS

       24.    The claims arising under the State Labor Laws of New York, Maryland,

Missouri, Arizona and Illinois are properly maintainable as a class action under Federal Rule

of Civil Procedure 23 ("Rule 23").



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         25.       The Rule 23 class consists of the following five subclasses:

         1. New York Subclass: All persons who have worked as tipped, hourly food
         service workers at Joe's Crab Shack restaurants in New York, between August
         28,2007 and the date of final judgment in this matter ("New York Subclass").

         2. Maryland Subclass: All persons who have worked as tipped, hourly food
         service workers at Joe's Crab Shack restaurants in Maryland between August
         28,2010 and the date of final judgment in this matter ("Maryland Subclass").

         3. Missouri Subclass: All persons who have worked as tipped, hourly food
         service workers at Joe's Crab Shack restaurants in Missouri between August 28,
         2011 and the date of final judgment in this matter ("Missouri Subclass").

         4. Arizona Subclass: All persons who have worked as tipped, hourly food
         service workers at Joe's Crab Shack restaurants in Arizona between August 28,
         2010 and the date of final judgment in this matter (Arizona Subclass").

         5. lllinois Subclass: All persons who have worked as tipped, hourly food
         service workers at Joe's Crab Shack restaurants in Illinois between August 28,
         2003 and the date of final judgment in this matter ("lllinois Subclass").

         26.       The class action is maintainable under subsections (1), (2), (3) and (4) of Rule

23(a).

         27.       The number of putative subclass members is over 100.

         28.       The Named Plaintiffs claims share common issues of law and fact as to

whether they were paid properly and have common claims that are typical of the claims of

the subclass members because they are employed by Defendants, paid subminimum wages

and required to perform non tip producing duties including "back of the house" duties such

as washing dishes, kitchen prep and janitorial tasks.

         29.       Common issues of law and fact predominate in this action because resolution

of them will resolve a significant aspect of this litigation for each subclass member in one

stroke including, but are not limited to, the following:

               •   Whether Defendants violated the respective State Labor Laws and supporting
                   regulations by paying employees subminimum wages and requiring tipped


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                 employees to perfonn non tip producing duties such as washing dishes, kitchen
                 prep and janitorial tasks;

             •   Whether Defendants correctly compensated the Named Plaintiffs and the
                 members of the subclasses for all hours worked;

             •   Whether Defendants knew or should have known that tipped employees were
                 performing non-tip producing duties, including, but not limited to, kitchen and
                 janitorial duties;

             •   Whether Named Plaintiffs and subclass members were systematically not paid
                 minimum wage for performing non-tip producing duties, including, but not
                 limited to, janitorial and kitchen related jobs;

             •   The minimum wage rate to which the subclasses are entitled;

             •   Whether Defendants' policy of failing to pay Named Plaintiffs and the
                 subclass members was willful or in reckless disregard of the law;

             •   Whether Defendants violated the NYLL and supporting regulations by failing
                 to provide the requisite notice to New York Subclass regarding the tip credit;
                 and

             •   Whether Defendants violated the Arizona Administrative Code by failing to
                 provide the requisite notice to the Arizona Subclass regarding the tip credit.

       30.       Further, there are no known conflicts of interest between the Named Plaintiffs

and the subclass members.       Moreover, the Named Plaintiffs will adequately represent the

interests of the subclass members because they are similarly situated to the subclass members.

       31.       The Class Counsel, Thomas & Solomon LLP, is qualified and able to litigate

the Named Plaintiffs' and subclass members' claims.

       32.       The Class Counsel concentrates its practice in employment litigation, and its

attorneys are experienced in class action litigation, including class actions arising under wage

and hour laws.

       33.       The class action is also maintainable under subsection (2) of Rule 23(b)

because the Named Plaintiffs and subclass members seek injunctive relief against Defendants



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and their officer, agents, successors, employees, representatives and any all persons acting in

concert with them as provided by law, from engaging in each of the unlawful practices,

policies and patterns set forth herein.

        34.      Moreover, the class action is maintainable under subsection (3) of Rule 23(b)

because the Named Plaintiffs and subclass members seek to resolve common questions of law

and fact (see supra 1129) that predominate among the Named Plaintiffs and subclass members

and the class action is superior to other available methods for the fair and efficient

adjudication of the controversy.

        35.      The subclasses are also maintainable under Rule 23(c)(4) because resolution of

common issues will significantly advance the litigation or entitle Plaintiffs to injunctive relief.

                                            PARTIES

A.      Plaintiffs

        36.      Christopher Hart, Jeffrey Beyer, Taylor Ramsey, Maria Sargent, Andrea

Randlett and Shelly Carrera were tipped hourly employees of Defendants under the FLSA

and the relevant State Labor Laws.

        37.      Christopher Hart worked for Defendants as a server from approximately

August 2011 to January 2013 at the Henrietta, New York location. Mr. Hart resides within

this District.

        38.      Jeffrey Beyer worked for Defendants as a server from approximately August

2011 to December 2012 at the Henrietta, New York location. Mr. Beyer resides witl1in this

District.

        39.      Taylor Ramsey worked for Defendants as a hostess from approximately July

2012 to September 2012 at the Branson, Missouri location. Ms. Ramsey resides in Illinois.



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        40.       Maria Sargent worked for Defendants as a server from approximately May

20 II to June 2012 at the Greenbelt, Maryland location. Ms. Sargent resides in Maryland.

        41.       Andrea Randlett worked for Defendants as a server from approximately May

2012 to August 2012 at the Tempe, Arizona location. Ms. Randlett resides in Arizona.

        42.       Shelly Carrera worked for Defendants as a server and bartender from

approximately June 2011 to June 2012 at the Fairview Heights, Illinois location. Ms. Carrera

resides in Illinois.

        43.       The Named Plaintiffs, along with other tipped employees, were subject to

Defendants' policy which paid them subminimum wages for work in jobs that were unrelated

to their tipped jobs or were jobs that were not direeted towards producing tips.

        44.       Some examples of the jobs Named Plaintiffs, along with other tipped

employees, had to perform under Defendant's policy at subminimum wages were:

              •   cleaning the dining room,

              •   dusting the pietures on the walls,

              •   windexing all the interior ,,~ndows and picture frames,

              •   scrubbing the legs of all the chairs,

              •   degreasing and shining exposed metal including tables, garage doors and
                  window sills,

              •   cleaning the cracks of the booths,

              •   cleaning, cutting and portioning out vegetables, noodles and rice for cooks,

              •   preparing sanitation buckets for prep and expo areas,

              •   setting up the expo line,

              •   breaking apart and cleaning the soda machines, tea dispensers and expo line,




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            •   removing, then cleaning the light fixtures,

            •   scrapping gum from under every table in the store,

            •   cleaning and wiping down all the shelves in the kitchen after removing all the
                items on the shelves,

            •   cleaning every window in the store and moving furniture to clean underneath,

            •   deck brushing the floors,

            •   cleaning and sanitizing sinks,

            •   sweeping the entire restaurant,

            •   emptying garbage and replacing liners,

            •   taking garbage to the dumpsters,

            •   washing dishes,

            •   stocking beverage stations,

            •   keeping ice bins full,

            •   sorting and polishing silverware and placing it in racks,

            •   sweeping the floor of the expo line,

            •   cleaning the keg cooler,

            •   wiping down the bar stools,

            •   cleaning the blinds,

            •   cleaning every display bottle at the bar and the display surfaces and

            •   stocking lemons, creamers and "to go" containers.

      45.       Plaintiffs performed these jobs at subminimum wages with great frequency.

      46.       Moreover, Named Plaintiffs were not informed of the tip credit as required by

the FLSA.




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       Christopher Hart

       47.    Pursuant to Defendants' policy, Named Plaintiff Christopher Hart was

regularly scheduled to work an 8 hour shift and would spend more than half of his shift (4.5

hours) performing non tip producing duties and was paid a subminimum wage.

       48.    Depending on the shift, Mr. Hart was assigned "opener duties" or "closer

duties" in addition to "running sidework". Defendants required that Mr. Hart complete the

following "opener duties": cleaning the dining room and all the wood work with a bucket

filled with sanitizer solution; dusting the pictures on the walls and \¥indexing the interior

windows and picture frames; scrubbing the legs of all the chairs; degreasing and shining

exposed metal including: tables, garage doors and window sills; cleaning out the cracks of the

booths; cleaning, cutting and portioning out vegetables, noodles and rice for cooks; preparing

sanitation buckets for prep and expo areas and setting up the expo line. Mr. Hart spent one

hour per shift performing these "opener duties" for which he was paid a subminimum wage.

       49.    Depending on the shift, Defendants also required that Mr. Hart complete the

following "closer duties" which included: breaking apart and cleaning the soda machines, tea

dispensers and expo line; removing, then cleaning the light fixtures; scraping the gum from

under every table in the store; cleaning and wiping down all the shelves in the kitchen after

removing all the items on the shelves; cleaning every window in the store; moving furniture to

clean underneath; deck brushing the floors; cleaning and sanitizing sinks; sweeping the entire

restaurant; emptying garbage and replacing liners then taking the garbage to the dumpsters.

Mr. Hart would spend one hour per shift performing these" closer duties" for which he was

paid a subminimum wage.

       SO.    When he was assigned opener or closer duties, Defendants also required Mr.



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Hart to complete "running sidework" for the entire restaurant which consisted of: washing

dishes because often the restaurant did not have a dishwasher; emptying trash cans and

replacing liners; hand wiping all plates and silverware; sweeping, dusting, sanitizing and

bleaching coffee cups, mugs, pots and tea kettles. Mr. Hart would spend 3.5 hours

completing "running sidework" for which he was paid a subminimum wage.

          5!.      Together with opener or closer duties, Mr. Hart spent more than half of his

shift (4.5 hours) performing non tip producing duties and was paid a subminimum wage.

          52.      Defendants failed to provide Mr. Hart with wage statements that contained

allowances claimed by Defendants including the tip credit as required by the NYLL.

          Jeffrey Beyer

          53.      Pursuant to Defendants' policy, Named Plaintiff Jeffrey Beyer was regularly

scheduled to work 6 and 8 hour shifts and would spend more than half of his shift (3.5 hours

or 4.5 hours) performing non tip producing duties and was paid a subminimum wage.

          54.      Depending on the shift, Mr. Beyer was assigned "opener duties" or "closer

duties" in addition to "running sidework". Defendants required Mr. Beyer to complete the

following "opener duties": cleaning the dining room and all the wood work with a bucket

filled   V\~th   sanitizer solution; dusting the pictures on the wall and windexing the interior

windows and picture frames; scrubbing the legs of all the chairs; degreasing and shining

exposed metal tables, garage doors and window sills; cleaning out the cracks of the booths;

cleaning, cutting and portioning out vegetables, noodles and rice for cooks; preparing

sanitation buckets for prep and expo areas and setting up the expo line. Mr. Beyer spent one

hour per shift performing these "opener duties" for which he was paid a subminimum wage.

          55.      Depending on the shift, Defendants also required Mr. Beyer to complete the



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following "closer duties": breaking apart and cleaning the soda machines, tea dispensers and

expo line; removing, then cleaning the light fixtures; scraping the gum from under every table

in the store; cleaning and wiping down all the shelves in the kitchen after removing all the

items on the shelves; cleaning every window in the store; moving furniture to clean

underneath; deck brushing the floors; cleaning and sanitizing sinks; svveeping the entire

restaurant; emptying garbage and replacing liners then taking tbe garbage to the dumpsters.

Mr. Beyer spent. one hour per shift performing these" eloser duties" for which he was paid a

subminimum wage.

        56.   When he was assigned opener or closer duties, during the same shift

Defendants also required Mr. Beyer to complete "running sidework" for the entire restaurant

which consisted of: washing dishes because the restaurant often did not have a dishwasher;

empting trash cans and replacing liners; hand wiping all plates and silverware; sweeping,

dusting, sanitizing and bleaching coffee cups, mugs, pots and tea kettles; performing

expediter duties; stocking beverage stations; keeping ice bins full; sorting and polishing

silverware and placing it in racks; sweeping the floor of the expo line and stocking lemons,

creamers and "to go" containers. Depending on the shift he worked, Jeffrey Beyer would

spend 2.5 hours (6 hour shift) or 3.5 hours (8 hour shift) completing "running sidework" for

which he was paid a subminimum wage.

        57.   Together with the opener or closer duties, Mr. Beyer spent more than half of

his shift (3.5 or 4.5 hours) performing non tip producing duties and was paid a subminimum

wage.

        58.   Defendants failed to provide Mr. Beyer with wage statements that contained

allowances claimed by Defendants including the tip credit as required by the NYLL.



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       Taylor Ramsry

       59.    Pursuant to Defendants' policy, Named Plaintiff Taylor Ramsey was regularly

scheduled to work 8 hour shifts and would spend more than half of her shift (4.5 hours)

performing non tip producing duties and was paid a subminimum wage.

       60.    Ms. Ramsey was assigned "closer duties" in addition to "running sidework".

Defendants required Ms. Ramsey to complete the following "closer duties", breaking apart

and cleaning the soda machines, tea dispensers and expo line; cleaning and wiping down all

the shelves in the retail area; cleaning every window in the store and moving furniture to

clean underneath. Ms. Ramsey spent one hour per shift performing these" closer duties" for

which she was paid a subminimum wage.

       61.    When she was assigned closer duties, during the same shift Defendants also

required Ms. Ramsey to complete "running sidework"for the entire restaurant which

consisted of: vacuuming, sweeping, dusting, sanitizing and replacing all paper products in the

bathrooms; cleaning the bathroom floors; washing the store's windows; rolling silverware and

filling salt and pepper shakers.   Ms. Ramsey would spend 3.5 hours completing "running

sidework" for which she was paid a subminimum wage.

       62.    Together with the closer duties, Ms. Ramsey spent more than half of her shift

(4.5 hours) performing non tip producing duties and was paid a subminimum wage.

       Maria Sargent

       63.    Pursuant to Defendants' policy, Named Plaintiff Maria Sargent was regularly

scheduled to work 6 hour shifts and would spend more than half of her shift (3.5 hours)

performing non tip producing duties and was paid a subminimum wage.

       64.    Depending on the shift, Ms. Sargent was assigned "opener duties" or "closer



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duties" in addition to "running sidework". Defendants required Ms. Sargent to complete the

following "opener duties": cleaning the dining room with a bucket filled with sanitizer

solution; dusting the pictures on the wall and windexing the interior windows and picture

frames; scrubbing the legs of all the chairs; degreasing and shining exposed metal including:

tables, garage doors and window sills; cleaning out the cracks of the booths; portioning out

sugar for iced tea; preparing sanitation buckets for prep and expo areas; setting up the expo

line. Ms. Sargent spent one hour per shift performing these "opener duties" for which she

was paid a subminimum wage.

       65.    Depending on the shift, Defendants also required Ms. Sargent to complete the

following "closer duties": breaking apart and cleaning the soda machines, tea dispensers and

expo line; removing, then cleaning the light fixtures; scraping the gum from under every table

in the store; cleaning and wiping down all the shelves in the kitchen after removing all the

items on the shelves; cleaning every window in the store; moving furniture to clean

underneath; cleaning and sanitizing sinks; sweeping the entire restaurant; emptying garbage

and replacing liners. Ms. Sargent spent one hour per shift performing these "closer duties"

for which she was paid a subminimum wage.

       66.    When she was assigned opener or closer duties, during the same shift,

Defendants also required Ms. Sargent to complete "running sidework" for the entire

restaurant which consisted of: washing the dishes for the entire store because often the store

did not have a dishwasher present to clean the dishes; emptying trash cans and replacing

liners; hand wiping all plates and silverware before they left the kitchen; sweeping, dusting,

sanitizing and washing the store's windows; bleaching coffee cups, mugs, pots and tea kettles;

performing expediter duties; stocking beverage stations; keeping ice bins full; sorting and



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polishing silverware and placing it in racks; sweeping the floor of the expo line and stocking

lemons, creamers and "to-go" containers. Ms. Sargent would spend 2.5 hours completing

"running sidework" for which she was paid a subminimum wage.

       67.    Together with the opener or closer duties, Ms. Sargent spent more than half of

her shift (3.5 hours) performing non tip producing duties and was paid a subminimum wage.

       Andrea Randlett

       68.    Pursuant to Defendants' policy, Named Plaintiff Andrea Randlett was regularly

scheduled to work 8 hour shifts and would spend more than half of her shift (4.5 hours)

performing non tip producing duties and was paid a subminimum wage.

       69.    Depending on the shift, Ms. Randlett was assigned "opener duties" or "closer

duties" in addition to "running sidework". Defendants required Ms. Randlett to complete

the following "opener duties": cleaning the dining room with sanitizer; dusting the artifacts

and memorabilia hanging on the walls; windexing all photos on the walls; scrubbing the legs

of all the chairs; dusting all TVs; wiping down all the wrought iron; cleaning out the cracks of

the booths; preparing sanitation buckets; preparing desserts for the entire store; setting up

the salad bar and expo line. Ms. Randlett spent at least one hour performing these "opener

duties" for which she was paid a subminimum wage.

       70.    Depending on the shift, Defendants required Ms. Randlett complete the

following "closer duties": brealdng apart and cleaning the soda machine and expo line;

removing, then cleaning the light fixtures; scrapping the gum from under every table in the

store; cleaning and wiping down all the shelves in the kitchen after removing all the items on

the shelves; cleaning every window in the store and moving furniture to clean underneath.

Ms. Randlett spent at least one hour performing these "closer duties" for which she was paid



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a subminimum wage.

         71.   When she was assigned opener or closer duties, during the same shift

Defendants required Ms. Randlett to complete "running sidework" for the entire restaurant

which consisted of: washing dishes; sweeping, dusting, sanitizing; replacing all paper products

in the bathrooms; cleaning the bathroom floors; washing the store's windows; bleaching

coffee cups, mugs, pots and tea kettles; cleaning crackers and zippers. Ms. Randlett would

spend at least 3.5 hours completing "running sidework" for which she was paid a

subminimum wage.

         72.   Together with the opener or closer duties, Ms. Randlett spent more than half

of her shift (4.5 hours) performing non tip producing duties and was paid a subminimum

wage.

         73.   Defendants failed to provide Ms. Randlett with a wage statement that included

the amount the Defendants took as a tip credit as required by the Arizona Administrative

Code.

        Shelly Carrera

         74.   Pursuant to Defendants' policy, Named Plaintiff Shelly Carrera was regularly

scheduled to work 8 hour shifts and would half of her shift (4 hours) performing non tip

producing duties and was paid a subminimum wage.

         75.   Depending on the shift, Ms. Carrera was assigned "opener duties" or "closer

duties" in addition to "running sidework". Defendants required Ms. Carrera to complete the

following "opener duties": cleaning the dining room and all the wood work with sanitizer;

cleaning the mats in the beverage area; taldng out the trash and cleaning the cracks in the

booths; prepping desserts; making ice cream balls; plating up desserts; washing dishes;



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preparing sanitation buckets; stocking ice; slicing lemons and stocking fmit. Ms. Carrera

spent at least one hour per shift performing these "opener duties" for which she was paid a

subminimum wage.

         76.   Defendants also required that Ms. Carrera complete the following "closer

duties"; breaking apart and cleaning the soda machine and expo line; removing tben cleaning

the light fixtures; stock and clean silverware; scrapping the gum from under every table in the

store; clean and wipe down all the shelves in the kitcben after removing all tbe items on the

shelves; moving furniture to clean underneath; wiping down the bar stools; cleaning the keg

cooler; cleaning the blinds and cleaning every display bottle at the bar and the display

surfaces. Ms. Carrera spent at least one hour per shift performing these "closer duties" for

which she was paid a subminimum wage.

        77.    When she was assigned opener or closer duties, during the same shift

Defendants required Ms. Carrera to complete "mnning sidework" for the entire restaurant

which consisted of: sweeping, dusting, sanitizing and washing the store's windows; bleaching

coffee cups, mugs, pots and tea kettles; cleaning the zippers and crackers. Ms. Carrera would

spend at least 3 hours completing "mnning sidework" for which she was paid a subminimum

wage.

        78.    Together with the opener or closer duties, Ms. Carrera spent half of her shift (4

hours) performing non tip producing duties and was paid a subminimum wage.

        B.     Defendants

        79.    At all times relevant hereto, Plaintiffs were "employees" of Defendants within

the meaning of the FLSA and the respective State Labor Laws.

        80.    At all times relevant hereto, Defendants are a covered employer within the



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meaning of the FLSA and the respective State Labor Laws.

       81.      Defendants are engaged in interstate commerce, and their annual gross volume

of sales made or business done exceeds $500,000, exclusive of excise taxes.

       82.      During the course of their employment by Defendants, Plaintiffs handled

goods, including perishable produce and other food products that moved in interstate

commerce.

       Ignite Restaurant Group, Inc.

       83.      Defendant Ignite owns and operates 135 Joe's Crab Shack restaurants in 34

states and are known as "come as you are" family-friendly seafood restaurants. Joe's Crab

Shack restaurants vary somewhat in size and dimensions, but, on average, the typical

restaurant averages 8,000 square feet and can serve over 200 guests at one time.

       84.    Ignite is one of the nation's largest full service restaurant companies. Along

with owning and operating Joe's Crab Shack restaurants, Ignite owns and operates other well-

known chain restaurants nationwide including: Romano's Macaroni Grill and Brick House

Tavern + Tap.

       85.    Ignite is a publicly traded company on the NASDAQ (ticker symbol IRG).

Ignite is incorporated in the State of Delaware and maintains corporate offices loeated at

9900 Westpark Drive, Suite 300, Houston, Texas 77063.           Information for Ignite can be

found at www.igniterestaurants.com.

       86.    Ignite reported total revenues of over $400 million for fiscal year 2012.

       87.    Ignite's corporate address is listed on Plaintiffs paystubs and Ignite is listed as

the employer on Plaintiffs' W-2 Wage and Tax Statements.

       88.    Ignite is the employer of the Plaintiffs as it maintains control, oversight and



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direction over Plaintiffs and Class Members including time keeping, payroll and other

employment practices that applied to them.

          89.   For example, Ignite manages Plaintiffs' work schedules by using "Hot

Schedules" at its Joe's Crab Shack restaurants. Employees access their work schedule on-line

through "Hot Schedules". Accordingly, Ignite maintains Plaintiffs' employment records.

          90.   Moreover, Ignite's management team includes a Chief Executive Officer and

Senior Vice President of Human Resources who manage the conditions of Plaintiffs'

employment and exercises financial control over all Joe's Crab Shack restaurants throughout

the nation. Additionally, Ignite's Board of Directors maintains management control over all

Joe's Crab Shack restaurants.

          91.   Further, Ignite hires employees by posting job vacancies throughout Joe's Crab

Shack restaurants across the nation on their website, www.igniterestaurants.com.

          92.   In addition, Ignite's employees are permitted to transfer to any Ignite owned

restaurant.

          93.   Based in part on these facts, Ignite can be held liable as an employer of the

Plaintiffs for the violations complained of in this matter.

          Crab Addison, Inc. d/b/a Joe's Crab Shack

          94.    Crab Addison, Inc. ("Crab Addison") is a wholly-owned subsidiary of Ignite

that is responsible for the lease purchases and facilities maintenance of Joe's Crab Shack

restaurants.

          95.    Crab Addison is a Texas Corporation and shares the same corporate office as

Ignite.

          96.    Crab Addison is separately incorporated in every state where Joe's Crab Shack



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restaurants are operated.

        97.    Crab Addison in conjunction with the other Defendants maintains control,

oversight and direction over the Plaintiffs including time keeping, payroll and other

employment practices that are applied to them.

        98.    Crab Addison has admitted that it is an employer of employees who work at

Joe's Crab Shack restaurants in other litigation.

        99.    Based in part on these facts, Crab Addison can be held liable as an employer of

the Plaintiffs for the violations complained of in this matter.

       Raymond A. Blanchette III

        100.   Raymond A. Blanchette III is longtime food executive who has served as the

Chief Executive Officer of Ignite since 2007.           In terms of his ownership interest, Mr.

Blanchette owns stock options in Ignite valued at $170,000.

        101.   Defendant Raymond A. Blanchette III is directly in charge of the overall

operations of Ignite.     As such, Raymond A. Blanchette III is primarily responsible for

enforcing the business decisions as they pertain to Joe's Crab Shack restaurants including the

illegal policies complained of in this case.

        102.   For example, Mr. Blanchette has the authority to, and does, make decisions

that concern Defendants' operations, including functions related to employment, human

resources, training, payroll, and benefits.    For example, when Joe's Crab Shack restaurants

were acquired in 2007 by JCS Holdings LLC (later renamed Ignite) Mr. Blanchette decided

to not layoff any employees and instead decided to hire additional staff to shore up

operations at tl1e restaurants.

       103.    Moreover, Mr. Blanchette has made several human resource policy decisions



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that affect Plaintiffs including requiring that they sing and dance while working to enhance

the fun image of Joe's Crab Shack restaurants. Further, Mr. Blanchette decides Plaintiffs'

benefit issues, such as how his employees at Joe's Crab Shack restaurants will afford employer

provided healthcare through the federal government's recent mandate.             In fact, Mr.

Blanchette is leading efforts to create opportunities for his employees at Joe's Crab Shack

restaurants to have health care for the first time.

       104.    In addition, Mr. Blanchette manages Ignite's branding activities to gain market

share and increase sales by constantly looking to introduce new ideas like Joe's Crab Shack

"100% Shore" campaign by focusing on the restaurant's Gulf Coast roots. As part of this

branding campaign, Mr. Blanchette made the decision that his employces need to do a better

job facilitating the "Joe's Experience", which includes eating food that is shareable, wearing

bibs, and eating with your hands while haVing a drink that looks like you're on vacation.

Accordingly, under Mr. Blanchette's direction Ignite regularly runs contests for the Plaintiffs

to see who can sell the most tropical drinks or most crab legs on a particular day, week or

month to improve the "Joe's Experience".

       105.    Moreover, Mr. Blanchette makes record-keeping decisions, including the

decision to outsource accounting and payroll at the time of the acquisition in 2007.

       106.    Further, with respect to his financial control, Mr. Blanchette took personal

responsibility when Ignite "stumbled out of the gate" and significantly misstated its revenues

in it first earning statement as a publically traded company and needed to file revised earning

statements.

       107.    Based in part on these facts, Raymond A. Blanchette III is actively involved in

the illegal policies complained of in this case and can be held liable as an employer of the



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Plaintiffs for the violations complained of in this matter.

         Kevin Cottingim

         108.    Kevin   Cottingim    served as   Ignite's    Senior Vice    President   &   Chief

Administrative Officer responsible for human resources and payroll from 2008 until April

2013.    Currently, Mr. Cottingim consults exclusively with Ignite.         In terms of ownership

interest, Mr. Cottingim owns stock options in Ignite valued at approximately $40,000.

         109.    Defendant Kevin Cottingim was directly in charge of overseeing human

resources and payroll and ensuring Defendants' compliance or non-compliance with the

Federal and State Labor Laws where Defendants operate Joe's Crab Shack restaurants. As

such, Kevin Cottingim was responsible for the creation and application of the illegal policies

complained of in this case.

         1l0.    For example, Mr. Cottingim was actively involved in the determination and

drafting of human resources policies, the resolution of issues and disputes regarding hiring

and firing Plaintiffs, determining rates of pay and maintaining employment records.           For

example, Mr. Cottingim would directly email Plaintiffs who complain about Defendants'

human resource policies.      Mr.    Cottingim personally encouraged employees at Joe's Crab

Shack restaurants to have open dialogue with himself and Ignite's HR team concerning

working conditions and pay rates.

         II I.   Mr. Cottingim oversaw a team of human resource professionals based at

Defendants' headquarters in Houston, Texas that includes Patti Simpson and Robyn Martin.

Mr. Cottingim's HR team travelled to Joe's Crab Shack restaurant locations to meet with

Plaintiffs to counsel them on their working conditions and pay rates.

         112.    Mr. Cottingim was actively involved in Defendants' payroll functions.        For



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instance, when Plaintiffs lodge complaints about their compensation, Me. Cottingim and his

HR team would immediately respond directly.

        113.   Me. Cottingim was actively involved in Defendants' system for keeping and

maintaining employees' payroll records, the timing and method with which payment is

conveyed to employees, and the manner and method in which employees receive payroll

information including their payroll checks. For example, Me. Cottingim directed Defendants'

payroll department issue checks to Plaintiffs to resolve pay discrepancies

        114.   Based in part on these facts, Kevin Cottingim can be held liable as an employer

of the Plaintiffs for the violations complained of in this matter.

       Rodney Morris

       115.    Rodney Morris is Ignite's current Senior Vice President of Human Resources

responsible for all facets of human capital including human resources and payroll at Joes'

Crab Shack restaurants. As part of Ignite's recent acquisition of Romano's Macaroni Grill,

Me. Morris was hired to replace Me. Cottingim who resigned in March 2013. Me. Morris

continues Me. Cottingim's active approach to human resource management, including

developing human resource training, benefits and employee incentive programs at Ignite.

       116.    For instance, defendant Rodney Morris is directly in charge of overseeing

human resources and payroll and ensuring Defendants' compliance or non-compliance with

the Federal and State Labor Laws where Defendants operate Joe's Crab Shack restaurants.

As such, Rodney Morris is responsible for the maintenance and application of the illegal

policies complained of in this case.

       117.    Further, Me. Morris's responsibilities include the determination and drafting of

human resources policies, the resolution of issues and disputes regarding hiring and firing



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Plaintiffs, determining rates of pay and maintaining employment records.             Similar to his

predecessor, Mr. Cottingim, Mr. Morris is responsible for resolving complaints from

employees about Defendants' human resource policies.               Further, given his specialty in

bUilding organizational relationships from the dish room to the board room, Mr. Morris is

responsible for the management of the work environment at Joe's Crab Shack restaurants.

         118.   Mr. Morris oversees a team of human resource professionals based at

Defendants' headquarters in Houston, Texas that includes Patti Simpson and Robyn Martin.

         119.   Given that Mr. Morris assumed Mr. Cottingim responsibilities he is involved

in   Defendants'    payroll   functions   including    resolving    issues   concerning   employee

compensation.

         120.   Mr. Morris is also carrying out his predecessor's responsibilities with respect to

Defendants' system for keeping and maintaining employees' payroll records, the timing and

method with which payment is conveyed to employees, and the manner and method in

which employees receive payroll information including their payroll cheeks.

         121.   Based in part on these facts, Rodney Morris can be held liable as an employer

of the Plaintiffs for the violations complained of in this matter

                                            COUNT I
                Violation of the Fair Labor Standards Act - Minimum Wages
                               Section 2 I 6(b) Collective Action

         122.   Named Plaintiffs hereby re-allege and incorporate the allegations set forth

above.

         123.   This count arises from Defendants' willful violation of the FLSA, 29 USc.

§20 I, et seq., for their failure to pay minimum wages to the Plaintiffs. Plaintiffs bring this

claim as a collective action under Section 16(b) of the Act. 29 USc. §216(b).



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          124.   Defendants have a practice of paying Named Plaintiffs and similarly situated

employees subminimum wages.

          125.   Plaintiffs are not exempt from the minimum wage provisions of the FLSA

          126.   Defendants' policy is not to pay Plaintiffs the legally required minimum wage

even though the Plaintiffs are performing jobs unrelated to their tipped job (see supra '11'1144,

47-78).

          127.   Defendants' policy is also to not pay Plaintiffs the legally required minimum

wage even though the Plaintiffs are spending more than 20% of their time on jobs that are

related to, but not themselves, their tipped jobs.

          128.   Specifically, Defendants' polic)' is to utilize the Named Plaintiffs and similarly

situated employees to perform "back of the house" duties and other jobs that are not tipped

jobs (see supra '11'1144, 47-78).

          129.   Additionally, Defendants are not eligible to avail themselves of the federal

tipped minimum wage rate under the FLSA, 29 USc. §203(m), because Defendants failed

to provide notice of the tip credit to Named Plaintiffs as required under Federal law.

          130.   Defendants' practices violate the minimum wage provisions of the FLSA

          131.   Because the Plaintiffs were all deprived minimum wage payments by the

Defendants' policy, Plaintiffs are similarly situated to each other pursuant to 29 USc. §

216(b).

       WHEREFORE, Named Plaintiffs and those similarly situated employees pray for

judgment against Defendants as follows:

                 (a)     judgment in the amount of the owed minimum wages for all time
                         worked by Named Plaintiffs and those employees who join this lawsuit;




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               (b)     an injunction against Defendants and their officers, agents, successors,
                       employees, representatives and any and all persons acting in concert
                       with them as provided by law from engaging in each of the unlawful
                       practices, policies and patterns set forth herein;

               (c)     liquidated damages in an amount equal to the amount of unpaid
                       mimmum wages;

               (d)     an award crediting Named Plaintiffs and those employees who join the
                       lawsuit all hours worked;

               (e)     an award of reasonable attorneys' fees, expenses, expert fees and costs
                       incurred in vindicating Named Plaintiffs and those whose joint the
                       lawsuit rights;

               (f)     an award of pre- and post-judgment interest; and

               (g)     such other and further legal or equitable relief as this Court deems to be
                       just and appropriate.


                                      COUNT II
                Violation of the New York Labor Law - Minimum Wages
                           Class Action - New York Subclass

       132.    Christopher Hart and Jeffrey Beyer bring this count as a Rule 23 class action

on behalf of themselves and the New York Subclass.

       133.    Christopher Hart and Jeffrey Beyer hereby re-allege and incorporate the

allegations set forth above.

       134.    This count arises from Defendants' willful violation of the NYLL, New York

Minimum Wage Act, Article 19, § 650 et seq., for Defendants' failure to pay Mr. Hart, Mr.

Beyer and the New York Subclass their earned minimum wages. Mr. Hart, Mr. Beyer and

the New York Subclass are current and former tipped employees of Defendants who are due,

and who have not been paid, minimum wages under the provisions of the NYLL.

       135.    Defendants have a practice of paying Mr. Hart, Mr. Beyer and the New York

Subclass subminimum wages.


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        136.     Defendants pay Mr. Hart, Mr. Beyer and the New York Subclass these wages

even though they perform jobs that are not within the scope of the "Food service worker"

definition under the NYLL or associated regulations.

        137.     For example, Defendants' policy is to pay Mr. Hart, Mr. Beyer and the New

York Subclass subminimum wages even though they are performing jobs unrclated to their

tipped jobs (see supra 111147-58).

        138.     Additionally, Defendants' policy is to pay Mr. Hart, Mr. Beyer and the New

York Subclass subminimum wages even on days in which they spend more than 20% of their

work day performing non-tipped occupations.

        139.     Further, Defendants' policy is to pay Mr. Hart, Mr. Beyer and the New York

Subclass subminimum wages even on days in which the Plaintiffs are assigned to work in an

occupation in which tips are not customarily received.

        140.     Specifically, Defendants' policy is to utilize Mr. Hart, Mr. Beyer and the New

York Subclass to perform "back of the house" duties and other jobs that are not tipped jobs

(see supra 111147-58).

        141.     Thus, as described above, Defendants regularly r",quire Mr. Hart, Mr. Beyer

and the New York Subclass to perform such jobs as food preparation and general restaurant

cleaning, but continued to pay Plaintiffs subminimum wages while the employees are engaged

in those jobs.

        142.     Defendants also failed to provide written notice of the tip eredit or allowanee

to Mr. Hart, Mr. Beyer and the New York Subclass as required under New York State law.

        143.     At all relevant times relevant to the litigation, Defendants did not comply with

NYLL's tip credit provision and the supporting New York State Department of Labor



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Regulations, including, but not limited to 12 NYC.R.R. §137-2.2 and 146.2-2.

       144.      Moreover, the Defendants failed to provide Mr. Hart, Mr. Beyer and those

similarly situated with wage statements that complied with the requirements of NYLL. For

example, Mr. Hart, Mr. Beyer and the New York Subclass were not given wage statements

that contained allowances claimed by Defendants including the tip credit as required by

NYLL § 195(3) as amended by the New York Wage Theft Prevention Act.

       145.      Accordingly, Defendants are not entitled to pay Mr. Hart, Mr. Beyer and the

New York Subclass subminimum wages under the NYLL.

       146.      Mr. Hart and Mr. Beyer will seek to certify Count II as a class action, and ask

the Court to determine the rights of the class, enjoin the illegal conduct, order the payment

of other damages due, and to direct Defendants to account for all back wages, penalties and

prejudgment interest thereon due to them and the New York Subclass.

       147.      Count II is brought as a class action because the New York Subclass is similarly

situated to Mr. Hart and Mr. Beyer, and is so numerous that joinder of all members is

impracticable.    Mr. Hart and Mr. Beyer therefore bring this action on their own behalf as

aggrieved employees, and in their representative capacities, against Defendants. Mr. Hart,

Mr. Beyer and similarly situated persons are equally affected by the minimum wage violations

of Defendants and the relief sought is for the benefit of Mr. Hart, Mr. Beyer and the New

York Subclass they seek to represent.

       148.      The issues involved in this lawsuit present common questions of law and fact

(see supra 1129). These common questions of law and fact predominate over the variations

which may exist between the New York Subclass, if any. Mr. Hart, Mr. Beyer and the New

York Subclass have a commonality of interest in the subject matter and remedy sought,



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namely owed minimum wages plus penalties, interest, attorneys' fees and the cost of this

lawsuit.   Mr. Hart and Mr. Beyer believe and assert that they are able to fairly and

adequately represent and protect the interests of the New York Subclass.        If individual

actions were required to be brought by each of the similarly situated persons injured or

affected, it would necessarily result in multiplicity of lawsuits, creating a hardship to the

individuals, to the Court, and to Defendants. Accordingly, a class action is an appropriate

method for the fair and efficient adjudication of this lawsuit and distribution of the common

fund to which the New York Subclass is entitled.

       149.   The books and records of Defendants are material to the action as they

disclose certain of the hours worked by each employee and the rate of pay for that work.

       150.   Defendants violated the NYLL by failing to compensate Mr. Hart, Mr. Beyer

and the New York Subclass consistent with the minimum wage provisions.

              WHEREFORE, Mr. Hart, Mr. Beyer and the New York Subclass pray for

judgment against Defendants as follows:

              (a)    an order preliminarily and permanently restrammg Defendants from
                     engaging in the aforementioned pay violations;

              (b)    An award of the value of Mr. Hart, Mr. Beyer and the New York
                     Subclass members' unpaid wages;

              (c)    an award crediting Mr. Hart, Mr. Beyer and the New York Subclass
                     members for all hours worked;

              (d)    an additional amount as liquidated damages in an amount equal to the
                     amount of unpaid minimum wages;

              (e)    an award of one hundred dollars for each work week that violations
                     occurred for Mr. Hart, Mr. Beyer and each New York Subclass member
                     not to exceed a total of twenty five hundred dollars pursuant to the
                     New York Wage Theft Prevention Act;




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                  (f)    an award of reasonable attorneys' fees, expenses, expert fees and costs
                         incurred in vindicating Mr. Hart, Mr. Beyer and the New York Subclass
                         members' rights;

                  (g)    an award of pre- and post-judgment interest;

                  (h)    The amount equal to the value which would make Mr. Hart, Mr. Beyer
                         and the New York Subclass members whole for the violations; and

                  (i)    such other and further legal or equitable rclief as this Court deems to be
                         just and appropriate.

                                       COUNT III
            Violation of the Missouri Minimum Wage Law - Minimum Wages
                             Class Action - Missouri Subclass

        151.      Plaintiff Taylor Ramsey brings this count as a Rule 23 class action on behalf of

herself and the Missouri Subclass.

        152.      Plaintiff Taylor Ramsey hereby re-alleges and incorporates the allegations set

forth above.

        153.      This count arises from Defendants' willful violation of the Missouri Minimum

Wage Law § 290.502, et seq., for Defendants' failure to pay Ms. Ramsey and the Missouri

Subclass all their earned minimum wages.         Plaintiffs and the class are current and former

tipped employees of Defendants who are due, and who have not been paid, minimum wages

under the provisions of the Missouri Minimum Wage Law.

        154.      Defendants have a practice of paying Ms. Ramsey and the Missouri Subclass

subminimum wages.

        155.      For example, Defendants' policy is to pay Ms. Ramsey and the Missouri

Subclass subminimum wages even though they are performing jobs unrelated to their tipped

jobs (see supra   ~~59-62).


        156.      Further, Defendants' policy is to pay Ms. Ramsey and the Missouri Subclass



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subminimum wages even on days in which the Plaintiffs are assigned to work in an

occupation in which tips are not customarily received.

        157.    Specifically, Defendants' policy is to utilize Ms. Ramsey and the Missouri

Subclass to perform "back of the house" duties and other jobs that are not tipped jobs (see

supra \[\[59-62).

        158.    Thus, as described above, Defendants regularly required Ms. Ramsey and the

Missouri Subclass to perform such jobs as food preparation and general restaurant cleaning,

but continued to pay subminimum wages while the employees were engaged in those jobs.

        159.    Defendants' practices violate the minimum wage provisions of the Missouri

Minimum Wage Law.

        160.    Ms. Ramsey will seek to certify Count III as a class action, and asks the Court

to determine the rights of the Missouri Subclass, enjoin the illegal conduct, order the

payment of other damages due, and to direct Defendants to account for all back wages,

penalties and prejudgment interest thereon due to her and the class that she seeks to

represent.

        161.    Count III is brought as a class action because the Missouri Subclass is similarly

situated to Ms. Ramsey and is so numerous that joinder of all members is impracticable. Ms.

Ramsey therefore brings this action on her own behalf as an aggrieved employee, and in her

representative capacity, against Defendants. Ms. Ramsey and similarly-situated persons are

equally affected by the minimum wage violations of Defendants, and the relief sought is for

her benefit and the Missouri Subclass that she seeks to represent.

        162.   The issues involved in this lawsuit present common questions of law and fact

(see supra 1129). These common questions of law and fact predominate over the variations



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which may exist between members of the Missouri subclass, if any. Ms. Ramsey and the

Missouri Subclass have a commonality of interest in the subject matter and remedy sought,

namely owed minimum wages plus penalties, interest, attomeys' fees and the cost of this

lawsuit. Ms. Ramsey believes and asserts that she is able to fairly and adequately represent

and protect the interests of the Missouri Subclass. If individual actions were required to be

brought by each of the similarly-situated persons injured or affected, it would necessarily

result in multiplicity of lawsuits, creating a hardship to the individuals, to the Court, and to

Defendants. Accordingly, a class action is an appropriate method for the fair and efficient

adjudication of this lawsuit and distribution of the common fund to which the class is

entitled.

        163.   The books and records of Defendants are material to the action as they

disclose certain of the hours worked by each employee and the rate of pay for that work.

        164.   Defendants violated the Missouri Minimum Wage Law by failing to

compensate Ms. Ramsey and the Missouri Subclass consistent with the minimum wage

provisions.

               WHEREFORE, Ms. Ramsey and the Missouri Subclass pray for judgment

against Defendants as follows:

               (a)    an order preliminarily and permanently restrammg Defendants from
                      engaging in the aforementioned pay violations;

               (b)   An award of the value of Taylor Ramsey and the Missouri Subclass
                     members' unpaid wages;

               (c)    an award crediting Taylor Ramsey and the Missouri Subclass members
                      for all hours worked;

               (d)    an additional amount as liquidated damages in an amount equal to the
                      amount of unpaid minimum wages;



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                (e)     an award of reasonable attorneys' fees, expenses, expert fees and costs
                        incurred in vindicating Taylor Ramsey and the Missouri Subclass
                        members' rights;

                (f)     an award of pre- and post-judgment interest;

                (g)     The amount equal to the value which would make Taylor Ramsey and
                        the Missouri Subclass members whole for the violations; and

                (h)     such other and further legal or equitable relief as this Court deems to be
                        just and appropriate.


                                     COUNTrY
       Violation of the Maryland Labor & Employment Code - Minimum Wages
                          Class Action - Maryland Subclass

        165.    Plaintiff Maria Sargent brings this count as a Rule 23 class action on behalf of

herself and the Maryland Subclass.

        166.    Plaintiff Ms. Sargent hereby re-alleges and incorporates the allegations set

forth above.

        167.    This count arises from Defendants' willful violations of the Maryland Labor

and Employment Code §§ 3-413, 3-507.2 for Defendants' failure to pay Ms. Sargent and the

Maryland Subclass. Ms. Sargent and the Maryland Subclass are current and former tipped

employees of Defendants who are due, and who have not been paid, minimum wages under

the provisions of the Maryland Labor and Employment Code.

        168.    Defendants have a practice of paying Ms. Sargent and the Maryland Subclass

subminimum wages.

        169.    For example, Defendants' polic.y is to pay Ms. Sargent and the Maryland

Subclass subminimum wages even though the Plaintiffs are performing jobs unrelated to their

tipped jobs (see supra 111163-67).

        170.    Further, Defendants' policy is to pay Ms. Sargent and the Maryland Subclass


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subminimum wages even on days in which Maria Sargent and the Maryland Subclass are

assigned Lo work in an occupation in which tips are not customarily received.

        171.    Specifically, Defendants' policy is to utilize Ms. Sargent and thc Maryland

Subclass to perform "back of the house" duties and other jobs that are not tippcd jobs (see

supra 111163-67).

        172.    Thus, as dcscribed above, Defendants regularly required Ms. Sargent and the

Maryland Subclass to perform such jobs as food preparation and general restaurant cleaning,

but continued to pay subminimum wages while the employees were engaged in those jobs.

Defendants unlawfully withheld minimum wage payments from Ms. Sargent and the

Maryland Subclass by improperly relying on the tip credit for their minimum wage

obligation. Defendants' policy to pay Ms. Sargent and the Maryland Subclass subminimum

wages was not the result of a bona fide dispute.

        173.    Defendants' practices violate the minimum wage provisions of the Maryland

Labor and Employment Code.

        174.    Ms. Sargent will seek to certify Count N as a class action, and asks the Court

to determine the rights of the class, enjoin the illegal conduct, order the payment of other

damages due, and to direct Defendants to account for all          bacl~   wages, penalties and

prejudgment interest thereon due to her and the Maryland Subclass.

        175.    Count IV is brought as a class action because the Maryland Subclass is

similarly situated to Ms. Sargent and is so numerous that joinder of all members is

impracticable. Ms. Sargent therefore brings this action on their own behalf as an aggrieved

employee, and in her representative capacity, against Defendants. Ms. Sargent and similarly

situated persons are equally affected by the minimum wage violations of Defendants, and the



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relief sought is for her benefit and the Maryland Subclass that she seeks to represent.

        176.   The issues involved in this lawsuit present common questions of law and fact

(see supra 1129). These common questions of law and fact predominate over the variations

which may exist between members of the classes, if any.        Ms. Sargent and the Maryland

Subclass have a commonality of interest in the subject matter and remedy sought, namely

owed minimum wages plus penalties, interest, attorneys' fees and the cost of this lawsuit.

Ms. Sargent believes and asserts that she is able to fairly and adequately represent and

protect the interests of the Maryland Subclass.     If individual actions were required to be

brought by each of the similarly-situated persons injured or affected, it would necessarily

result in multiplicity of lawsuits, creating a hardship to the individuals, to the Court, and to

Defendants. Accordingly, a class action is an appropriate method for the fair and efficient

adjudication of this lawsuit and distribution of the common fund to which the class is

entitled.

        177.   The books and records of Defendants are material to this action as they

disclose certain of the hours worked by each employee and the rate of pay for that work.

        178.   Defendants violated the Maryland Labor and Employment Code by failing to

compensate Ms. Sargent and the Maryland Subclass consistent with the minimum wage

provisIOns.

       WHEREFORE, Ms. Sargent and the Maryland Subclass pray for judgment against

Defendants as follows:

               (a)    an order preliminarily and permanently restraining Defendants from
                      engaging in the aforementioned pay violations;

               (b)    an award of the value of Ms. Sargent and the Maryland Subclass
                      members' unpaid wages;



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                (c)    an award crediting Ms. Sargent and the Matyland Subclass members for
                       all hours worked;

                (d)   an additional amount in an amount equal to three times the unpaid
                      wages;

                (e)    an award of reasonable attorneys' fees, expenses, expert fees and costs
                       incurred in vindicating Ms. Sargent and the Maryland Subclass
                       members' rights;

                (f)    an award of pre- and post-judgment interest;

                (g)   The amount equal to the value which would make Ms. Sargent and the
                      Maryland Subclass members whole for the violations; and

                (h)   such other and further legal or equitable relief as this Court deems to be
                      just and appropriate.

                                         COUNT V
              Violation of the Arizona Minimum Wage Act - Minimum Wages
                               Class Action - Arizona Subclass

       179.    Named Plaintiff Andrea Randlett brings this count as a Rule 23 class action on

behalf of herself and the Arizona Subclass.

       180.    Named Plaintiff Ms.      Randlett hereby re-alleges and incorporates the

allegations set forth above.

       181.    This count arises from Defendants' willful violation of the Arizona Minimum

Wage Act §23-363 et seq., for Defendants' failure to pay Plaintiffs and the Arizona Subclass

Members all their earned minimum wages.          Ms. Randlett and the Arizona Subclass are

current and former employees of Defendants who have not been paid minimum wages under

the provisions of the Arizona Minimum Wage Act.

       182.    Defendants have a practice of paying Ms. Randlett and the Arizona Subclass

subminimum wages.

       183.    For example, Defendants' policy is to pay Ms. Randlett and the Arizona



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Subclass subminimum wages even though the Plaintiffs are performing jobs unrelated to their

tipped jobs (see supra 111168-73).

        184.    Further, Defendants' policy is to pay Ms. Randlett and the Arizona Subclass

subminimum wages even on days in which the Plaintiffs are assigned to work in an

occupation in which tips are not customarily received.

        185.    Specifically, Defendants' policy is to utilize Ms. Randlett and the Arizona

Subclass to perform "back of the house" duties and other jobs that are not tipped jobs (see

supra 111168-73).

        186.    Thus, as described above, Defendants regularly required Ms. Randlett and the

Arizona Subclass to perform such jobs as food preparation and general restaurant cleaning,

but continued to pay subminimum wages while the employees were engaged in those jobs.

        187.    Defendants also failed to provide written notice of the tip credit or allowance

to Ms. Randlett and the Arizona Subclass as required by the Arizona Administrative Code §

R20-S-1207(c).

        188.   At all rclevant times relevant to the litigation, Defendants failed to provide

Plaintiffs and those similarly situated with wage statements that complied with the

requirements of Arizona Administrative Code § R20-S-1207(c). For example, Ms. Randlett

and the Arizona Subclass were not given wage statements that contained the amount per

hour that Defendants withheld as a tip credit as required by Arizona Administrative Code §

R20-S-1207 (c).

        189.    Defendants' practices violate the minimum wage provisions of the Arizona

Minimum Wage Act.

        190.   Ms. Randlett will seek to certify Count V as a class action, and asks the Court



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to determine the rights of the class, enjoin the illegal conduct, order the payment of other

damages due, and to direct Defendants to account for all back wages, penalties and interest

thereon due to her and the Arizona Subclass.

        191.   Count V is brought as a class action because the Arizona Subclass members are

similarly situated to Ms. Randlett and is so numerous that joinder of all members is

impracticable. Ms. Randlett therefore brings this action On her own behalf as an aggrieved

employee, and in her representative capacity, against Defendants. Ms. Randlett and similarly

situated persons are equally affected by the minimum wage violations of Defendants, and the

relief sought is for the benefit of herself and the Arizona Subclass that she seeks to represent.

       192.    The issues involved in this lawsuit present common questions of law and fact

(see supra 1129). These common questions of law and fact predominate over the variations

which may exist between members of the classes, if any.         Ms. Randlett and the Arizona

Subclass have a commonality of interest in the subject matter and remedy sought, namely

owed minimum wages plus penalties, interest, attorneys' fees and the cost of this lawsuit.

Ms. Randlett believes and asserts that she is able to fairly and adequately represent and

protect the interests of the class. If individual actions were required to be brought by each of

the similarly situated persons injured or affected, it would necessarily result in multiplicity of

lawsuits, creating a hardship to the individuals, to the Court, and to Defendants.

Accordingly, a class action is an appropriate method for the fair and efficient adjudication of

this lawsuit and distribution of the common fund to which the class is entitled.

       193.    The books and records of Defendants are material to this action as they

disclose certain of tl1e hours worked by each employee and ilie rate of pay for iliat work.

       194.    Defendants violated the Arizona Minimum Wage Act by failing to compensate



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Plaintiffs and members of the class consistent with the minimum wage provisions.

       WHEREFORE, Ms. Randlett and the Arizona Subclass pray for judgment against

Defendants as follows:

                (a)   judgment in the amount of the owed mInImUm wages for all time
                      worked by Ms. Randlett and the Atizona Subclass;

                (b)   an injunction against Defendants and their officers, agents, successors,
                      employees, representatives and any and all persons acting in concert
                      with them as provided by law, from engaging in each of the unlawful
                      practices, policies and patterns set forth herein;

               (c)    damages in an amount equal to the amount of unpaid minimum wages;

               (d)    an award crediting Ms. Randlett and the Arizona Subclass for all hours
                      worked;

               (e)    an award of reasonable attorneys' fees, expenses, expert fees and costs
                      incurred in vindicating Ms. Randlett and the Arizona Subclass
                      members'rights;

               (f)    an award of two hundred dollars for the first violation and $1,000 for
                      each subsequent violation of Arizona Administrative Code § R20-5-
                      l207(c) pursuant to Arizona Statute § 23-364, Arizona Administrative
                      Code § R20-5-l21O;

               (g)    an award of pre- and post-judgment interest; and

               (h)    such other and further legal or equitable relief as this Court deems to be
                      just and appropriate.


                                         COUNT VI
              Violation of the Illinois Minimum Wage Act - Minimum Wages
                               Class Action - Illinois Subclass

       195.    Named Plaintiff Shelly Carrera brings this count as a Rule 23 class action on

behalf of herself and the Arizona Subclass.

       196.    Named Plaintiff Ms. Carrera hereby re-alleges and incorporates the allegations

set forth above.



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         197.     This count arises from Defendants' willful violation of the Illinois Minimum

Wage Law - 820 ILCS 105/1 et seq., and Illinois Wage Payment and Colleetion Act - 820

ILCS 115/1 et seq., for Defendants' failure to pay Ms. Carrera and the Illinois Subclass s all

their earned minimum wages. Ms. Carrera brings Count VI as a class action under 735 ILCS

5/2-801.        Ms. Carrera and the Illinois Subclass are current and former employees of

Defendants who have not been paid minimum wages under the provisions of the Illinois

Minimum Wage Law and Illinois Wage Payment and Colleetion Act.

         198.     Defendants have a practice of paying Plaintiffs subminimum wages.

         199.     For example, Defendants' policy is to pay Ms. Carrera and the Illinois Subclass

subminimum wages cven though thc Plaintiffs are performing jobs unrelated to thcir tipped

jobs.

         200.     Specifically, Defendants' policy is to utilize Ms. Carrera and the Illinois

Subclass to perform "back of the house" duties and other jobs that are not tipped jobs (see

supra 111174-78).

         201.     Thus, as described above, Defendants regularly required Ms. Carrera to

perform such jobs as food preparation and general restaurant cleaning, but continued to pay

Plaintiffs subminimum wages while the employees are engaged in those jobs.

         202.     Defendants agreed to properly compensate Ms. Carrera and the Illinois

Subclass for all hours worked. However, Defendants' policies resulted in Ms. Carrera and the

Illinois Subclass performing non-tip producing jobs (see supra 111174-78) but were only paid

subminimum wages.

         203.     Defendants' practices violate the minimum wage provisions of the Illinois

Minimum Wage Act and Illinois Wage Payment and Collection Act.



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       204.    Ms. Carrera will seek to certify Count VI as a class action, and asks the Court

to determine the rights of the class, enjoin the illegal conduct, order the payment of other

damages due, and to direct Defendants to account for all back wages, penalties and interest

thereon due to her and the Illinois Subclass.

       205.    Count VI is brought as a class action because the Illinois Subclass members are

similarly situated to Ms. Carrera and is so numerous that joinder of all members is

impracticable. Ms. Carrera therefore brings this action on her own behalf as an aggrieved

employee, and in her representative capacity, against Defendants.           Ms. Carrera and the

Illinois Subclass are equally affected by the minimum wage violations of Defendants, and the

relief sought is for the benefit of herself and the Illinois Subclass that she seeks to represent.

       206.    The issues involved in this lawsuit present common questions of law and fact

(see supra 1129). These common questions of law and fact predominate over the variations

which may exist between members of the classes, if any.             Ms. Carrera and the Illinois

Subclass have a commonality of interest in the subject matter and remedy sought, namely

owed minimum wages plus penalties, interest, attorneys' fees and the eost of this lawsuit.

Ms. Carrera believes and asserts tbat she is able to fairly and adequately represent and

proteet the interests of the class. If individual actions were required to be brought by each of

the similarly-situated persons injured or affected, it would necessarily result in multiplicity of

lawsuits, creating a hardship to the individuals, to the Court, and to Defendants.

Accordingly, a class action is an appropriate method for the fair and efficient adjudication of

this lawsuit and distribution of the common fund to which the class is entitled.

       207.    The books and records of Defendants are material to this action as they

disclose certain of the hours worked by each employee and the rate of pay for that work.



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       208.    Defendants violated the Illinois Minimum Wage Act and the Illinois Wage

Payment and Collection Act by failing to compensate Ms. Carrera and the Illinois Subclass

consistent with the minimum wage provisions.

       WHEREFORE, Ms. Carrera and the Illinois Subclass pray for judgment against

Defendants as follows:

                (a)   judgment in the amount of the owed minnnum wages for all time
                      worked by Ms. Carrera and the Illinois Subclass;

                (b)   an injunction against Defendants and their officers, agents, successors,
                      employees, representatives and any and all persons acting in concert
                      with them as provided by law, from engaging in each of the unlawful
                      practices, policies and patterns set forth herein;

                (c)   damages in an amount equal to the amount of unpaid minimum wages;

                (d)   an award crediting Ms. Carrera and the Illinois Subclass for all hours
                      worked;

                (e)   an award of reasonable attorneys' fees, expenses, expert fees and costs
                      incurred in vindicating Ms. Carrera and the Illinois Subclass members'
                      rights;

                (f)   an award of pre- and post-judgment interest; and

                (g)   such other and further legal or equitable relief as this Court deems to be
                      just and appropriate.


                                      TURYDEMAND

       Plaintiffs demand a jury to hear and decide all issues of fact in accordance "With

Federal Rule of Civil Procedure 38 (b).




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Dated: August 28, 2013

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